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 11 Attorneys for Plaintiffs Salud Gonzalez,
 12 Darleen Diaz, Bernice Perez, Ashley Ruiz,
    and Elena Peltola
 13                        UNITED STATES DISTRICT COURT
 14
                         CENTRAL DISTRICT OF CALIFORNIA
 15
    SALUD GONZALEZ, an individual,            Case No. 22-09467
 16
    DARLEEN DIAZ, an individual,
 17 BERNICE PEREZ, an individual,             COMPLAINT FOR:
 18 ASHLEY RUIZ, an individual, and           1. SEXUAL ASSAULT OF A
    ELENA PELTOLA, an individual,                MINOR
 19                                           2. VIOLATION OF PENAL CODE
 20              Plaintiffs,                     647.6(A)(1)
                                              3. INTENTIONAL INFLICTION
 21
          v.                                     OF EMOTIONAL DISTRESS
 22                                           4. NEGLIGENT HIRING,
    INTERNATIONAL CHURCHES OF                    SUPERVISION, AND
 23 CHRIST, INC., a California nonprofit         RETENTION
    corporation; THE INTERNATIONAL            5. NEGLIGENT SUPERVISION
 24 CHRISTIAN CHURCH, INC., a                    OF A MINOR
    California nonprofit corporation; HOPE 6. FAILURE TO REPORT
 25 WORLDWIDE, LTD., a Delaware                  SUSPECTED CHILD ABUSE IN
    nonprofit corporation;                       VIOLATION OF PENAL CODE
 26 MERCYWORLDWIDE, a California                 SECTION 11165. ET SEP.
    nonprofit corporation; CITY OF               BASED ON VICARIOUS
 27 ANGELS INTERNATIONAL                         LIABILITY
    CHRISTIAN CHURCH, a California            7. NEGLIGENCE
 28
                                       COMPLAINT
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  1 nonprofit corporation; THOMAS           8. VIOLATION OF FEDERAL
  2 (“KIP”) McKEAN, an individual; THE          RACKETEER INFLUENCED
    ESTATE OF CHARLES “CHUCK”                   AND CORRUPT
  3 LUCAS; and DOES 1 through 100,              ORGANIZATION (“RICO”)
  4 inclusive,                                  ACT 18 U.S.C. § 1962(C)
                                            9. SEXUAL BATTERY IN
  5              Defendants.                    VIOLATION OF CAL. CIV.
  6                                             CODE § 1708.5
  7                                         10. GENDER VIOLENCE IN
                                                VIOLATION OF CAL. CIV.
  8                                             CODE § 52.4
  9
                                            JURY TRIAL DEMANDED
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                                       COMPLAINT
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  1         Plaintiffs SALUD GONZALEZ, DARLEEN DIAZ, BERNICE PEREZ,
  2 ASHLEY RUIZ, AND ELENA PELTOLA (collectively, “Plaintiffs”) hereby submit
  3 this Complaint pursuant 18 U.S.C. §§ 1961 et. seq., the California Civil Code and the
  4 California Penal Code, under federal question and supplemental jurisdiction against
  5 Defendants      INTERNATIONAL           CHURCHES         OF     CHRIST,      INC.,   THE
  6 INTERNATIONAL CHRISTIAN CHURCH, INC., HOPE WORLDWIDE, LTD.,
  7 MERCYWORLDWIDE, CITY OF ANGELS INTERNATIONAL CHRISTIAN
  8 CHURCH, THOMAS “KIP” McKEAN and THE ESTATE OF CHARLES “CHUCK”
  9 LUCAS, and all other named and unnamed defendants (collectively “Defendants”) and
 10 states as follows:
 11                                    INTRODUCTION
 12         1.    This action to recover damages on behalf of adult victims of childhood
 13 sexual assault is governed by Code of Civil Procedure section 340.01 (“section
 14 340.01”).
 15         2.    The incidents of childhood sexual assault against Plaintiffs alleged herein
 16 were facilitated and actively concealed by Defendants while Plaintiffs were minors.
 17         3.    This case involves an ongoing and systemic scheme of abuse that
 18 shocks the conscience from its appallingly epic proportions that has been
 19 effectuated and actively concealed by a ruthless den of sexual predators wherein,
 20 through physical force and psychological manipulation, children as young as 3 years
 21 old were repeatedly raped and sexually abused with impunity by trusted church
 22 members.
 23                             JURISDICTION AND VENUE
 24         4.    This Court has federal subject matter jurisdiction over this action pursuant
 25 to 28 U.S.C. § 1331 because it arises under the Racketeer Influenced and Corrupt
 26 Organizations Act (18 U.S.C. §§ 1961 et. seq.).
 27         5.    Pursuant to Code of Civil Procedure §340.1(q) as amended by Assembly
 28 Bill 218, effective January 1, 2020, there is a three (3) year window in which all civil
 29 claims of childhood sexual assault are revived if they have not been litigated to finality.
 30 This provision provides that, "[n]otwithstanding any other provision of law, any claim
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  1 for damages described in paragraphs (1) through (3), inclusive, of subdivision (a) that
  2 has not been litigated to finality and that would otherwise be barred as of January 1,
  3 2020, because the applicable statute of limitations, claim presentation deadline, or any
  4 other time limit had expired, is revived, and these claims may be commenced within
  5 three years of January 1, 2020. A plaintiff shall have the later of the three-year time
  6 period under this subdivision or the time period under subdivision (a) as amended by
  7 the act that added this subdivision." This claim has not been previously litigated to
  8 finality; thus, it is timely under the revised provisions of Code of Civil Procedure
  9 §340.l(q).
 10         6.    This Court has supplemental jurisdiction over all asserted state law claims
 11 pursuant to 28 U.S.C. § 1367 because all state law claims are so related to, and arise
 12 from, the same common nucleus of operative facts from which the federal claims arise
 13 and, therefore, they form part of the same case or controversy under Article III of the
 14 United States Constitution.
 15         7.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a) because a
 16 substantial part of the events and omissions giving rise to the claims occurred in this
 17 District. Additionally, the “nerve centers” of the International Churches of Christ, Inc.,
 18 and The International Christian Church, Inc. are both within the jurisdictional
 19 boundaries of the Central District of California.
 20                                      THE PARTIES
 21     A. PLAINTIFFS
 22         8.    Plaintiff Darleen Diaz (“Plaintiff Darleen” or “Darleen”) is a citizen and
 23 resident of Los Angeles, California. Plaintiff Darleen was a minor, citizen of the United
 24 States of America, and resident of the State of California at the time that she first
 25 became a victim and survivor of Defendants’ sexual abuse and trafficking.
 26         9.    Plaintiff Bernice Diaz (“Plaintiff Bernice” or “Bernice”) is a citizen and
 27 resident of Los Angeles, California. Plaintiff Bernice was a minor, citizen of the United
 28 States of America, and resident of the State of California at the time that she first
 29 became a victim and survivor of Defendants’ sexual abuse and trafficking.
 30         10.   Plaintiff Ashley Ruiz (“Plaintiff Ashley” or “Ashley”) is a citizen and
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  1 resident of Los Angeles, California. Plaintiff Ashley was a minor, citizen of the United
  2 States of America, and resident of the State of California at the time that she first
  3 became a victim and survivor of Defendants’ sexual abuse and trafficking.
  4         11.    Plaintiff Salud Gonzalez (“Plaintiff Salud” or “Salud”) is a citizen and
  5 resident of the State of Oregon. Plaintiff Salud was a minor, citizen of the United States
  6 of America, and resident of the State of California at the time that she first became a
  7 victim and survivor of Defendants’ sexual abuse and trafficking.
  8      B. DEFENDANTS
  9         12.    Defendant International Churches of Christ, Inc. (the “ICOC”) is a
 10 religious non-profit corporation organized and existing under and by virtue of the laws
 11 of the State of California. The ICOC purposefully conducts substantial religious and
 12 affiliated programs and activities in the County of Los Angeles, State of California.
 13 The ICOC has ecclesiastical, governmental, and administrative authority over the
 14 business and conduct of all locations worldwide. This authority includes, but is not
 15 limited to, the selection of ministers, the direction of liturgical interpretation, the
 16 collection of tithings and additional funds, and the issuance of behavioral and
 17 commercial directives for members worldwide.
 18         13.    Defendant The International Christian Church, Inc. (“ICC”) is a religious
 19 non-profit corporation organized and existing under and by virtue of the laws of the
 20 State of California. ICC purposefully conducts substantial religious and affiliated
 21 programs and activities in the County of Los Angeles, State of California. ICC has
 22 ecclesiastical, governmental, and administrative authority over the business and
 23 conduct of all locations worldwide. This authority includes, but is not limited to, the
 24 selection of ministers, the direction of liturgical interpretation, the collection of tithings
 25 and additional funds, and the issuance of behavioral and commercial directives for
 26 members worldwide.
 27         14.    Defendant HOPE worldwide (“HOPE”) was founded in 1994 by the
 28 ICOC and is a religious non-profit corporation organized and existing under and by
 29 virtue of the laws of the State of Delaware, with a principal place of business registered
 30 with the Secretary of State for the State of California located at 9449 Balboa Ave. Ste.
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  1 311, San Diego, California 92117. HOPE purposefully conducts substantial religious
  2 and affiliated programs and activities in the County of Los Angeles, State of California.
  3         15.    Defendant MERCYWorldwide (“MERCY”) was founded in 2009 by the
  4 ICC as a domestic nonprofit corporation and registered with the California Secretary
  5 of State as a California corporation. Both the ICC and MERCY listed its principal
  6 address at the same address: 2305 30th Street, Santa Monica, California. MERCY
  7 purposefully conducts substantial religious and affiliated programs and activities in the
  8 County of Los Angeles, State of California. MERCY is partially owned by ICC and
  9 the principal source of funding for all administrative costs is the ICC.
 10         16.    Defendant City of Angels - International Christian Church (“City of
 11 Angels”) is a religious non-profit corporation organized and existing under and by
 12 virtue of the laws of the State of California. City of Angels purposefully conducts
 13 substantial religious and affiliated programs and activities in the County of Los
 14 Angeles, State of California. City of Angels has ecclesiastical, governmental, and
 15 administrative authority over the business and conduct of all locations worldwide. This
 16 authority includes, but is not limited to, the selection of ministers, the direction of
 17 liturgical interpretation, the collection of tithings and additional funds, and the issuance
 18 of behavioral and commercial directives for members worldwide.
 19         17.    Defendant Thomas “Kip” McKean (“Kip” or “McKean”), upon
 20 information and belief, is a United States citizen, currently residing in Pacific
 21 Palisades, California. At all times relevant to the events that form the basis of this
 22 Complaint, Defendant Kip was a member of ICOC’s Los Angeles regional branch,
 23 and later, the City of Angels International Church of Christ in Los Angeles,
 24 California. Defendant Kip resided in California for extended periods while conducting
 25 business in California on behalf of Defendant ICOC and Defendant ICC. Defendant
 26 Kip’s supervision, direction, and control over the Defendants forms the basis of his
 27 personal liability.
 28         18.    Defendant The Estate of Charles “Chuck” Lucas (“Chuck” or “Lucas”),
 29 upon information and belief, was a citizen of the United States of America and was
 30 residing, at the time of his death, in Thomasville, Georgia. At all times relevant to the
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  1 events that form the basis of this Complaint, Defendant Chuck was a member of the
  2 ICOC, and later, formed another church called Cornerstone. Defendant Chuck resided
  3 in Georgia for extended periods while conducting business in California on behalf of
  4 Defendant ICOC. Defendant Chuck’s supervision, direction, and control over the
  5 Defendants forms the basis of his personal liability.
  6         19.   Plaintiffs are ignorant of the true names of the defendants sued herein as
  7 Does 1-100, inclusive, and therefore sue these defendants by such fictitious names.
  8 Plaintiffs will amend the Complaint to allege their true names when ascertained.
  9 Plaintiffs allege that, at all relevant times herein, Does 1-100 were the co-
 10 conspirators, subsidiaries, employees, employers, and agents of constituent members
 11 of Defendants herein. Plaintiffs allege that each of the fictitiously named defendants is
 12 legally responsible for the actions forming the basis of this Complaint and that
 13 Plaintiffs’ losses and damages are the result of their wrongful conduct.
 14                              GENERAL ALLEGATIONS
 15 Introduction to ICOC and ICC’s Meticulously Crafted Abuse Enterprise
 16         20.   The Defendants, at the direction and control of McKean and Lucas, have
 17 collectively exploited everything good and noble in their trusting and loyal members
 18 by callously robbing them of their childhood innocence through: psychological
 19 coercion and manipulation; pervasive sexual abuse of children as young as 3
 20 years old; and shameful financial abuse. Each of the foregoing abuses were actively
 21 concealed by the Defendants to avert discovery by child protective services and the
 22 police.
 23         21.   Founded in 1993, ICOC has become an intricate and intentionally
 24 confusing “network of over 700 non-denominational churches in about 150
 25 countries.” Throughout its history, ICOC has gone by other names, such as: the
 26 Boston Movement, the Discipling Movement, the Crossroads Movement, and
 27 Multiplying Ministries, for example. Often, the city in which a local assembly is
 28 located is added to the name, for example, Milwaukee Church of Christ and Sarajevo
 29 Church of Christ.”
 30         22.   To ensure the Defendants’ exploitative conduct remains unchecked,
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  1 Defendants have utilized their vast resources to silence any internal dissidents
  2 through physical and sexual violence, and if necessary, vexatious litigation.
  3        23.    Defendants have created a “David and Goliath” scenario, where the few
  4 members that have spoken up over the last four decades, have been swiftly
  5 suppressed. Defendants have intentionally created a system of exploitation that is
  6 extracts any and all value it can from members and non-members while shielding
  7 their illicit conduct from discovery by outsiders.
  8        24.    Defendants coerced parents/members to remain silent regarding the
  9 abuses their children suffered through payoffs and non-disclosure agreements. It is the
 10 vast financial base that has insulated the Defendants from exposure, and provides
 11 legitimacy and license to the Defendants’ system of exploitation and abuse. The
 12 communal ostracization and isolation from the outside world has caused highly
 13 debilitating emotional and mental harm, and in some cases, suicide.
 14        25.    The Defendants operate with a strict and documented discipleship
 15 pyramid, where every member has an elder disciple member “over them” that acts as
 16 a sort of mentor and jailor. This carefully crafted infrastructure enables both churches
 17 to execute and maintain a micromanaged degree of control over every aspect of
 18 every member’s life. Members are systematically deindividualized, only to endure
 19 communal isolation from the world at large.
 20        26.    Only these “disciplers” were allowed to provide any counseling to
 21 church members, however, they were not licensed counselors or mental health
 22 practitioners. Abuse victims were routinely branded as “disobedient” or
 23 “independent” and blamed for whatever abuse was happening. Such occurrences are
 24 common in the ICOC/ICC.
 25        27.    Abuses were reported to the “disciplers”, however, no investigations
 26 were initiated and no reports were made to the police by any named Defendant.
 27        28.    The Defendants created a religious requirement that required victims to
 28 confess “sins” on a daily basis, however, “disciplers” would share the specifics of
 29 these “sins” with other groups and leaders in a gossip-like culture. This allowed
 30 McKean and the Defendants to use the abuse as emotional blackmail within the
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  1 community.
  2         29.   In addition to the “discipler” structure, the Defendants were/are
  3 characterized by indoctrination of rigid fundamentalist teachings, unyielding
  4 compliance with instruction and strict social separatism. Every new member
  5 undergoes a rigid conversion process that is tantamount to systemic brainwashing,
  6 called the “First Principles” and once a new member agrees to all indoctrination
  7 related teachings, they must be baptized in water and commit to devote their entire
  8 life and schedule to the church.
  9         30.   Members are/were also required to give at least 10-30% of their income
 10 to the churches before they are allowed to be baptized and become an official
 11 member.
 12         31.   The Defendants teach their members that only fellow church members
 13 are “true disciples” of Jesus who will be rewarded with a place in heaven in the
 14 afterlife; non-members will not go to heaven and are not “true disciples” of Jesus.
 15 Indeed, this insider-outsider dichotomy allowed scores of sexual predators within
 16 the churches to abuse children without fear of criminal prosecution. ICOC and ICC
 17 created a highly exclusive environment for its members wherein they were/are
 18 prohibited from marrying anyone outside the church and the church must approve all
 19 marriages, which ultimately gives the church an incredible degree of control over
 20 every aspect of its members lives.
 21         32.   The Defendants’ hierarchical system of authority facilitates the ongoing
 22 physical and sexual abuse of children by insulating predatory church leaders from
 23 exposure. The Defendants’ predators continue preying upon children without fear of
 24 repercussion.
 25         33.   Parishioners are required to forgive any slight, no matter how severe, and
 26 “move on” without reporting such abuses. The Defendants teach that because “no
 27 one is free from sin,” judging the conduct of another, no matter how villainous, is
 28 beyond the right of any individual. Further, parishioners must protect God’s church
 29 and modern-day movement from all challenges.
 30 / / /
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   1 Church History
   2           34.      Founded in Boston in 1979 under the “Boston Movement” moniker by
   3 Thomas “Kip” McKean (“Thomas McKean” or “Kip”) (and 29 other members)
   4 through secession from the Church of Christ in Gainesville, Florida. The fledgling
   5 “church” quickly sought new members upon formation and enjoyed considerable
   6 expansion and success. After the Boston Movement obtained religious and corporate
   7 recognition as the International Church of Christ in the 1980’s, the ICOC swiftly grew
   8 into a multinational movement. According to the ICOC’s self-reported statistics, the
   9 ICOC is a body of approximately 700 cooperating Christian non-denominational
  10 congregations spread across 144 nations, with more than 120,000 members
  11 worldwide.
  12           35.      In 1979, the Church of Christ that helped spawn ICOC and eventually
  13 ICC, was jointly led by Charles Howard Lucas (“Chuck” or “Chuck Lucas”), a
  14 licensed psychologist at the time, and McKean. It is commonly understood that
  15 McKean, was acutely aware of, the physical, psychological, and sexual abuses
  16 Lucas and other church members wrought upon both children and adult
  17 parishioners of the church. Academic writings, journals, recovered correspondence,
  18 newspaper articles, eyewitness accounts, and publications like the book, “Toxic
  19 Christianity,” which was written by former ICOC leading members under the
  20 pseudonym “Mr. X”.1 These are but a fraction of the litany of information depicting
  21 the practices and abuses that the Defendants have institutionalized to the point of
  22 normalcy within the church.2
  23           36.      ICOC was incorporated in California in December 1994. Its Articles of
  24 Incorporation filed with the California Secretary of State stated that upon dissolution,
  25 “the remaining assets of this Corporation shall be distributed to…the individual
  26 congregations that are part of the worldwide fellowship of churches of Christ (which
  27
       1
  28    Toxic Christianity. It’s widely believed that Rick Bauer co-published with another church leader under the pseudonym
       “Mr. X” and can be accessed in its entirety here: http://www.reveal.org/library/theology/Toxic.pdf
  29   2
        Writings from former members and ICOC leaders, in addition to information about the ICOC/ICC churches
       organizational structure, religious dogma, and their associated analyses can be found at
  30   http://www.reveal.org/library/psych/stumpk.html
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   1 are affiliated with the Corporation), if they qualify as distributes under the provisions
   2 of this Section.”
   3            37.      The International Christian Church (ICC) was founded by Kip McKean
   4 in 2006 after he was forced out of ICOC. ICC was registered in California as a
   5 nonprofit religious corporation in October 2006, and as of December 2022, ICC listed
   6 104 affiliate churches on its website. Articles of Incorporation filed by ICC with the
   7 California Secretary of State included references to affiliates of ICC. One part stated
   8 that upon dissolution of ICC, “the assets of this Corporation shall be distributed to
   9 other nonprofit funds, foundations or corporations affiliated with the International
  10 Christian Church.34
  11            38.      The Defendants are independently operating a highly profitable pyramid
  12 scheme supported by a web of paper corporations and sham 501(c)(3) entities,
  13 culminating in hundreds of millions of dollars in illicit gains. The full extent of ICOC
  14 and ICC’s profiteering is unknown, especially given the tithing and labor
  15 contributions ICOC and ICC routinely coerce from their members.
  16            39.      Plaintiffs are aware that ICOC and ICC have also benefitted from
  17 millions in governmental support through SBA loans, authorized under the
  18 Coronavirus Aid, Relief, and Economic Security Act (CARES Act).5 Through their
  19 veiled abuse of the corporate form and systematic exploitation of their members, the
  20 ICOC/ICC has created a literal cash cow built upon layers of lies and deceit.
  21            40.      One example of a tax-exempt corporation under the ICOC/ICC corporate
  22
  23
       3
        Between April 2020 and February 2021, 18 branches of the ICC received Paycheck Protection Program (PPP) loans.
  24   These loans totaled $287,490, and a total of $290,040 was forgiven, including accrued interest.
       4
  25     Churches associated with the ICOC appeared to be incorporated into separate entities, according to a review of public
       records. For instance, the Los Angeles International Church (LAICC), the largest ICOC church by membership, was
  26   incorporated in California in December 1990, according to corporate records with the California Secretary of State. The
       Los Angeles International Church (LAICC) described its structure on its website, noting that it’s “organized into eight
  27   self-supported regions. Each regional evangelist has been given the charge of equipping the brothers and sisters in his
       part of the LA church (region) to effectively evangelize his area with the saving message of Jesus Christ as well as
  28   helping one another mature in Christ.” Notably, “each region has a regional financial advisory group that assists the
       ministry staff and the Board of Directors with the oversight of the finances in their particular region.”
  29   5
        During the COVID-19 pandemic, branches of ICOC received 77 Paycheck Protection Program (PPP) loans, totaling
       over $9.4 million. Over $9.2 million of those loans were forgiven, including accrued interest. (projects.propublica.org,
  30   accessed December 15, 2022; disciplestoday.org, accessed December 15, 2022)
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   1 umbrella is the sham charity organization Defendant HOPE, which has generated over
   2 $100 million in revenue over the last six years. HOPE generates a substantial share of
   3 its tax-free revenue from its members using substantially similar methods of ICOC
   4 and ICC, which are characterized by the tax-deductible contributions from third-party
   5 corporations and high-net-worth individuals.
   6           41.     Chuck and McKean co-designed the discipling pyramid that would later
   7 become the foundational structure that formed the mechanism of control and coercion
   8 frequently used by the Defendants.
   9           42.     Chuck Lucas was leading the CrossRoads Church of Christ in
  10 Gainesville, Florida, before he was paid off to leave Florida and start another church,
  11 with the explicit goal that Chuck would no longer be associated with the ICOC
  12 because of his deviant behavior. ICOC and McKean strategically downplayed
  13 Chuck’s pattern of abuse by labeling his conduct as “recurring sins.” Sadly enough,
  14 these “recurring sins” were never investigated by ICOC.6 The Defendants, McKean
  15 and other church leaders were acutely aware of Chuck’s disturbing pattern of abuse,
  16 but nevertheless actively concealed Chuck’s misdeeds to avert discovery by the
  17 police.
  18           43.     Notwithstanding his reprehensible history of abusing church members, in
  19 or about 1986, Chuck was paid to sever ties with ICOC, leading him to start a new
  20 church in Tallahassee/Gainsville Florida, which he named Cornerstone. Chuck died in
  21 August 2018, however, Plaintiffs herein witnessed his ongoing abuse of children and
  22 adults within the congregation through the end of his despicable life.
  23           44.     Sam Laing, one of Chuck’s continued faithful supporters and a
  24 prominent lead evangelist with the ICOC, was well aware of Chuck’s deeply
  25 disturbing abuses and its chronology. Sam Laing recently made a statement about
  26 Chuck in a 2018 article published in “Disciples Today,” which is an ICOC owned
  27 platform/news source:
  28
  29
       6
        History Repeats Itself: The Rise and Fall of Kip McKean & Chuck Lucas. Ryan Britt. 2002. Accessed on December
  30   29, 2022 at http://www.reveal.org/library/history/britt2.html
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   1                   “Chuck Lucas was a man of deep conviction. He was a
   2                   disciple of great courage and perseverance. He was criticized,
   3                   persecuted and attacked for what he stood for, but he never
   4                   quit. Yes, he had his weaknesses and failures along the way,
   5                   but he, by grace, repented and overcame them,
   6                   and was restored.”7
   7 Kip McKean Forms ICC, A Carbon Copy of ICOC, to Continue the Abuse
   8 Enterprise
   9           45.     In or about 2003, Mr. McKean formally split from ICOC after an
  10 uprising and various op ed public letters were published by ICOC leaders. He
  11 officially formed ICC in or about 2006. ICC encompassed the same guiding principles
  12 and culture as ICOC. ICC was a carbon copy of ICOC, however, ICC eventually
  13 eclipsed ICOC in terms of the mania, secrecy and abuse that occurred. From its
  14 inception, the ICC became a much more effective tool of mass exploitation, best
  15 explained by the fact that Mr. McKean vowed to learn from any past incidents of
  16 dissent or divisiveness in the ICOC, to make sure that these uprisings or challenges to
  17 his authority never happened in his new “movement of God”.
  18           46.     McKean currently oversees ICC operations from its Los Angeles
  19 headquarters and he has completely separated himself from ICOC because he believes
  20 the entire ICOC congregation is now lost, likely because he is not the person
  21 currently leading it. ICC’s current membership is believed to include approximately
  22 7,000 individuals.
  23           47.     A former leader of ICC, Coltin Rohn, oversaw the Columbus, OH ICC
  24 congregation and was fired for publicly voicing concerns surrounding child
  25 exploitation. Coltin was a full-time evangelist with the ICC but was immediately
  26 fired for criticizing the church’s tactic of bullying members to give a specific amount
  27 of money to the church. Coltin was deeply concerned about the church’s practice of
  28
  29
       7
        Chuck Lucas: A Servant of God. Sam Laing. 2018. Accessed on December 29, 2022.
  30   https://www.dtodayarchive2.org/chuck-lucas-gods-servant-and-how-he-used-him
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   1 threatening a member’s salvation and standing within the community if they did not
   2 give 10-40% of their annual income to the church.8
   3           48.     On or about December 24, 2022, Coltin became aware of an ICC letter,
   4 sent out to every single person in their ICC church, showing the process of “marking”
   5 Coltin and his wife.
   6           49.     The Defendants have continued to threaten anyone who speaks out
   7 against the church with vexatious legal actions, disfellowship, and/or “marking.”
   8 “Discipling” Structure is the Foundation of the                                 Defendants’ System of
   9 Psychological Enslavement
  10           50.     ICOC was born from a “discipling” movement that arose among the
  11 Churches of Christ during the 1970’s and the church has maintained this practice in
  12 present times. This is a strict practice involving a “discipleship hierarchy” where a
  13 formal discipleship tree or a top-down authoritarian hierarchy was formed.
  14           51.     The hierarchy assigned every member a specific & strategic discipleship
  15 partner, who would oversee the other member. The “disciplining” movement has been
  16 memorialized in writing by Flavlil R Yeakley Jr. in a book titled “The Discipling
  17 Dilemma”. The rigid and pervasive culture of fear, coercion, control,
  18 manipulation, judgment, exclusion, punishment, along with the church’s overt
  19 focus on membership growth (i.e., its primary source of income), have resulted in a
  20 widely accepted categorization of ICOC and ICC as toxic, destructive cults.
  21           52.     This “discipleship tree” was nothing short of a sophisticated scheme,
  22 deeply rooted in psychological manipulation scheme by institutionally normalizing
  23 the use of aggressive, abusive, and coercive tactics that brainwash members into
  24 fearing the loss of salvation for menial transgressions.
  25           53.     Any member’s position, health, and wellbeing depend heavily upon
  26 success in expanding the congregational rosters. The Defendants’ leadership created a
  27 self-perpetuating business model to attract new recruits/members, and in doing so,
  28
  29   8
        The New York Daily News stated that “dozens” of former members of ICOC “call it a destructive sect that is more
       concerned with drawing in new members and draining their money than in matters of faith.” One ex-member of ICOC
  30   described ICOC as a “pyramid scheme” in which members “were all giving 10% to 40% of our income.”
                                                             -14-
                                                        COMPLAINT
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   1 generate hundreds of millions of dollars in revenue for the church.
   2         54.   An illustration of the Defendants’ hierarchical model of authority is
   3 depicted below:
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   7
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  15
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  17
  18
  19
  20
             55.   McKean, along with other ICOC leaders were obsessed with growing
  21
       church membership and, therefore, imposed recruiting quotas on members. All
  22
       members were required to attempt to recruit a certain number of new members each
  23
  24 day and members were also required to bring visitors to all church events. ICOC
  25 imposed quotas for everything imaginable. Members were isolated from outsiders
  26 and the church cultivated an atmosphere that actively promoted and concealed
  27 the systemic abuse of women and children within the church. Members were
  28 together every day and they were not allowed much, if any, contact with family
  29 members or friends who were not church members. Of course, the only exception to
  30 this strict rule is that members could contact outsiders for the sole purpose of
                                                -15-
                                             COMPLAINT
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   1 recruitment.
   2        56.     The Defendants’ members were forced to tithe and give at least 10% of
   3 their gross income to the church and participate in special contributions for missions
   4 approximately twice a year equaling approximately 40 times their normal tithe
   5 amount. The ICOC was relentless in its pursuit for funding and church leadership
   6
     would resort to interrogating members about their income, going so far as to
   7
     demand copies of the members’ paystubs. By way of example, if a member gave
   8
     $4,000 per month, the total mission contributions for that year would equal an
   9
     additional (40x) and the total required sum would be $160,000 in addition to the
  10
     normal yearly tithe amount of $48,000. This particular member would be required to
  11
     give the church a whopping total of $208,000 for the year!
  12
  13        57. If the tithing budget was not satisfied, leaders or “disciplers” were forced

  14 to contribute the financial shortfall themselves, or members were required to locate
  15 the offending member who failed to tithe and sit on their porch until they arrived
  16 home in an attempt to obtain their tithe funds before Sunday evening was over. The
  17 pressure to comply with the church’s rigid demands was a source of anxiety and
  18 depression for many members. So much so that several ex-members committed
  19 suicide.
  20       58.      In 2005, two former ICOC members filed a suit in Tennessee “claiming
  21 the church uses cultlike tactics, manipulation, peer pressure and guilt to force
  22
     members into tithing and making other financial contributions.” They alleged that for
  23
     personal gain, “the Nashville Church, the [ICOC], Hope Worldwide, and Central and
  24
     South America World Sector jointly participated in a scheme to defraud church
  25
     members, who are not allowed to inspect the church’s financial records.”
  26
           59. A former member named Tina witnessed Non-Disclosure Agreements
  27
     being forced upon parishioners, claiming that they could never talk about the true
  28
  29 finances of the Defendants despite evidence that ICOC opened offshore accounts
  30
                                               -16-
                                            COMPLAINT
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   1 containing massive quantities of cash.9
   2 Defendants’ Members Are Systematically Indoctrinated, Brain Washed and
   3 Manipulated
   4      60. Initially, early recruits received profound amounts of “love bombing” to
   5 lure them into a false sense of security, thereby allowing sexual predators to
   6 effectively manipulate them and eventually abuse them with the comfort of knowing
   7 these vulnerable and newly brainwashed people would never report the abuse.
   8
            61. Each member is trained to understand, which they come to
   9
     wholeheartedly believe that in connection with the church, “compliance was the
  10
     path of least resistance.” These members genuinely and wholeheartedly believed
  11
     they needed to follow the Bible verbatim and the Defendants, including their
  12
     leadership, were the only “true” modern-day disciples on Earth.
  13
            62. Church members were a dynamic and diverse group, consisting of scores
  14
  15 of successful individuals such as doctors, lawyers, professional athletes, actors,
  16 teachers, business owners, PhDs, and a remarkable number of leaders possessed
  17 psychology degrees.
  18           63.      It is without doubt that their education and training enabled these
  19 members to psychologically deplete members and manipulate children and their
  20 parents into submission, which created fertile ground for heinous sexual and physical
  21 abuse to thrive.
  22           64.      One psychologist ICOC member currently owns a school for autistic
  23 children in the San Francisco area and he has been accused of multiple instances of
  24
     sexual abuse of adults and children/teenagers while he was in Boston. ICOC and
  25
     McKean were aware of this despicable man’s repeated abuse, but McKean
  26
  27
       9
         Top leaders of the ICOC put “different ICOC assets and properties in their names” in order shelter and hide those
  28   assets “so that the church didn’t specifically own them.” For example, The Bay Area Christian Church listed its address
       at the location of the HOPE Technology School for Autistic Children, which was owned by Bay Area Christian Church
  29   executive minister Russ Ewell. As of 2022, the property had a total assessed value of $7.7 million, all of which was
       exempt from taxes under an “other” exemption. The Bay Area Christian Church also received a PPP loan of $764,600
  30   in April 2020.
                                                                  -17-
                                                             COMPLAINT
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   1 orchestrated his relocation from Boston to San Francisco to conceal his
   2 predatory practices and avert criminal prosecution.
   3         65.   McKean’s carefully crafted church hierarchy lent itself to maintaining
   4 secrecy and preventing outside intervention. The following is a rough depiction of the
   5 church’s organizational structure:
   6
   7                                          Kip
                                            McKean
   8
   9 Kip McKean                           Worldwide
                                        Sector Leaders
  10 Geographic sector leaders            Geographic
  11 Region leaders                     Sector Leaders
                                       Regional Leaders
  12 Sector leaders
                                        Sector Leaders
  13 Zone leaders
                                         Zone Leaders
  14 Bible leaders
                                      Bible Talk Leaders
  15
                                          Discipler
  16                                   Members/Disciples
  17
  18         66.   The Defendants’ structure was purposefully structured in this manner to,
  19 among other things, ensure the abuse within the church remained a secret to all
  20 outsiders, including the authorities. Indeed, someone within the church was always
  21
       monitoring lower ranking members and giving them explicit instructions on how to
  22
       conduct themselves.
  23
             67.   Questioning higher ranking members or the church in any manner was
  24
       frowned upon. Some individuals were “disfellowshipped” or “marked” for being
  25
       divisive if they asked too many questions, or questioned any leaders. A member with
  26
       either of these labels were fiercely ostracized by the entire membership, including
  27
       their families. “Disfellowshipped” members are essentially excommunicated and
  28
       shunned from the      Defendants’ communities. Accordingly, being labeled as
  29
       “disfellowshipped” or “marked” equated to hell on earth and in the afterlife for any
  30
                                               -18-
                                            COMPLAINT
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   1 member so labeled.
   2 McKean and the Defendants Preyed Upon and Defrauded College Students
   3        68.    The    Defendants have increasingly focused on recruiting college
   4 students. By utilizing college campuses across the globe as its primary hunting
   5 grounds, they are more successful at grooming new members but have an opportunity
   6 at pecuniary gain by convincing them to pay for a worthless education.
   7        69.    The practice of preying upon college students resulted in numerous
   8 televised exposés in the mid-1990’s when the ICOC cult commanded larger numbers,
   9 including but not limited to: 20/20 with Barbara Walters, Inside Edition, Fox News,
  10 BBC, and MTV.
  11        70.    These news stories were explosive and highly negative representations of
  12 the church, as many parents were crying out to the media for help because their college
  13 aged children were being brainwashed by a cult. Some parents expressed that they felt
  14 like their children were kidnapped by ICOC.
  15        71.    Indeed, ICOC and ICC’s exploitation of college students ultimately
  16 resulted in the ICOC\ICC being banned from on-campus recruiting from several
  17 schools across the nation, including but not limited to Boston University, which is
  18 situated near the epicenter of the ICOC. Surprisingly, the exposés did not garner
  19 enough outrage among the general population, leaving the ICOC\ICC to continue to
  20 prey upon college students without repercussion. Until now, the ICOC has had the
  21 luxury of the benefits from their long-time obfuscation of their parasitic internal
  22 practices.
  23 ICOC and ICC Actively Concealed Child Abuse, Including the Forcible Rape of
  24 a 3-year-old Girl
  25        72.    Mr. McKean is so brazen that he publicly admitted to defrauding
  26 students by handing out unearned, illegitimate, and meritless doctoral degrees
  27 designed to both inflate the importance of its senior members and extract unearned
  28 pecuniary gains.
  29               “The ICC runs an unaccredited college, called the
  30               International College of Christian Ministries, or ICCM,
                                               -19-
                                            COMPLAINT
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   1                   where they are handing out doctorates to anyone they
   2                   choose, where the established course work is limited only
                       to literature/books created within the ICC. This is why
   3                   most leaders in the ICC put the abbreviation of “Dr” in
   4                   front of their names, because they have been giving each
                       other unaccredited doctorate status. The ICCM has
   5                   already brought in approximately $6 million through ICC
   6                   members attending this unaccredited college.”
   7                   “During Covid, while the (financial) giving inside most
                       religious organizations declined, our giving inside of
   8                   God’s Sold-Out Modern-Day Movement steadily
   9                   increased! Due to our disciples receiving $3000 each in
                       stimulus checks, and approximately $6000 total per
  10                   couple, these members turned over that stimulus money to
  11                   the church. As a matter of fact, the sold-out ICC Disciples
  12                   are now giving $250K every single WEEK!”10
                       “In addition to this money, and according to God‘s
  13                   promise of always taking care of his people, the Sold-Out
  14                   movement was further blessed by the government
                       providing SBA loans to our members. Therefore, we were
  15
                       able to bring in $1.2 million of SBA loans to God’s sold-
  16                   out movement. We in turn used this SBA loan money to
  17                   start 22 churches around the world. Isn’t that incredible!!
                       To God be the glory!”
  18
  19 McKean and the Defendants Actively Concealed the Rape of Children as Young
  20 as 3 Years Old
  21        73.        The active concealment of systemic abuse within the Defendants by a
  22 den of “religious” sexual predators, i.e., church leaders such as Mr. McKean and Mr.
  23 Lucas, were the impetus of a devious and rampant culture of psychological abuse and
  24 manipulation, willfully ignoring the pervasive sexual abuse of children and adults
  25 throughout the churches and actively concealing abuse from the authorities.
  26        74.        In furtherance of efforts to protect the church and its primary source of
  27 revenue (its members) at all costs, the Defendants attempted to cover up these
  28 disgraceful crimes by manipulating members with remarks from McKean such as:
  29
  30        10
                 Currently, the sold-out ICC Disciples are now giving approximately $360K per week.
                                                               -20-
                                                           COMPLAINT
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   1               “We cannot report these abuses, because it would hurt
   2               our church, which is God’s Modern-Day Movement.”
                   “Do you want the fall of God’s modern-day movement
   3               on your head???!!”
   4               “The cause of protecting God’s Kingdom on earth is
                   more important than the sin or the pain of a few
   5               individuals.”
   6               “We need to forgive our brothers who sin, and realize
   7               that they are a new creation in Christ, and give them a
                   chance to make things right. If we report them, it will
   8               destroy their lives and hurt the church.”
   9         75.   In addition, the church engaged in strategic victim blaming and victim
  10 shaming. For example, young children who were abused were later blamed for that
  11 abuse when the ICOC would assert how their clothing was “too provocative”.
  12 McKean and the Defendants Drugged Young Children into Submission and
  13 Silence
  14         76.   The Defendants did not stop with physical, psychological, and financial
  15 exploitation. Many children were administered medication by church affiliated
  16 “doctors,” such as Anthony Stowers and Dr. Kris Stowers. Often, the affiliate doctors
  17 would administer medications that were prescribed for other conditions or children
  18 received medication for conditions for which they were never diagnosed. To conceal
  19 their illegal conduct and minimize scrutiny, the Defendants’ doctors provided the
  20 children with medication in unmarked bottles.
  21         77.   One of these affiliate physicians is a staff doctor at Florida State
  22 University and another that has administered medications to children for mental illness
  23 despite lacking any qualification to do so medically or through public license, is an
  24 orthopedic surgeon for athletes.
  25      78. Drugging children has also facilitated the ICOC’s clandestine efforts
  26 to conceal the ongoing child abuse from anyone outside the church. The children
  27 were persuaded to believe, through strategic pharmacological deception and
  28 psychological manipulation, that they were never abused and if their own memories
  29 seem contradictory, then their memories are flawed.
  30 / / /
                                               -21-
                                            COMPLAINT
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   1 McKean and the Defendants Used Children’s Ministries to Effectuate the Abuse
   2 Enterprise
   3         79.   The children’s ministry was named the “Kids Kingdom”, which served
   4 as a demented playground for the sexual predators within the Defendants.
   5 Countless instances of abuse happened within the Kids Kingdom, as the program
   6 hosted mission trips (HOPE Worldwide), social events and the children frequently
   7 visited members’ homes.
   8         80.   Defendant HOPE Worldwide is ICOC’s benevolent arm wherein
   9 teenagers took mission trips around the world to spread God’s Word. Many of these
  10 children who were participating in what they believed to be an evangelical trip, were
  11 ultimately sexually abused by vile adult men. Children and/or their parents reported
  12 the sexual abuse, including rape, to elders and doctors (i.e., mandated reporters) within
  13 the church, however, the church never bothered notifying the police of the illegal
  14 activity. There were no instances of any ICOC medical doctors reporting the abuse
  15 to anyone, let alone anyone outside the church.
  16 McKean and the Defendants Encouraged Physical Abuse of Children Under the
  17 Guise of Discipline
  18         81.   In addition to sexual abuse, ICOC and ICC children were routinely
  19 physically abused under the pretext of “discipline”. Church leadership often recited the
  20 following commonly known passage from Proverbs 13:24 as justification for child
  21 abuse: “Those who spare the rod of discipline hate their children. Those who love their
  22 children care enough to discipline them.”
  23
  24
  25
  26           [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]
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                                                -22-
                                             COMPLAINT
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   1        82.    For example, members were instructed to spank children, including
   2 infants, with a wooden paddle, custom made with a heart shaped hole in it, to
   3 create a more aerodynamic and effective (painful) spanking device. A true and
   4 correct image of the heart shaped paddle is depicted below:
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  21
  22        83.    Members were instructed, with visuals, how to use corporal punishment
  23 without leaving bruises, welts or red marks, so the offending members could not
  24 be reported to child protective services. One former member recalls frequently
  25 seeing young children at church with welts or bruises on their thighs. On one occasion,
  26 this member witnessed a child with a “heart shaped welt” on his/her body.
  27 1.2 Million People Leave ICOC After Abuses were Exposed
  28      84. Since at least 1979, ICOC and ICC have averted authority suspicion
  29 notwithstanding the fact that in excess of the last 40 years, predatory members have
  30 escaped prosecution for countless instances of sexual abuse (children and adults),
                                               -23-
                                            COMPLAINT
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   1 physical abuse (adults and children), spousal abuse, and emotional abuse.
   2        85.    Mr. McKean and his team of capable, well-educated henchmen convinced
   3 nearly everyone within the churches to remain silent for the last 43 years. That silence
   4 has come to an end.
   5        86.    Many ICOC members were fortunate enough to escape the church’s tight
   6 grasp and successfully flee the toxic and harmful environment that Mr. McKean
   7 created.
   8        87.    From its inception in 1979 to the present, approximately 1,200,000 souls
   9 defected from ICOC. The large number of defectors is due, in large part, to the
  10 explosive growth that ICOC experienced.
  11        88.    For three consecutive years, the ICOC was labeled in the religious world
  12 as the fastest growing church on the planet. Simply put, ICOC’s growth was nothing
  13 short of profound. On the other hand, its bleeding was also profound, because members
  14 defected in record numbers as they became increasingly aware of the heinous,
  15 pervasive abuse of children and adults and the corresponding cover ups. These
  16 courageous souls would simply disappear, never again to be seen by anyone in the
  17 church.
  18        89.    According to some of the most respected cult experts around the world,
  19 including but not limited to Dr. Steve Hassan PhD, the Defendants are some of the
  20 most dangerous cults in existence. This is primarily because of the church’s insidious
  21 tactic of masquerading as the Christian church next-door with deeply rooted Biblical
  22 foundation. On its face, this public image of the church seems innocent and believable,
  23 however, the church’s internal machinations are characterized by unmitigated
  24 systemic and chronic physical and sexual abuse of children and women within the
  25 church.
  26        90.    Defectors have since revealed the abuse they suffered and/or witnessed at
  27 ICOC and ICC. Former member Lisa Johnson who as a top leader in New York City
  28 and also a friend of Mr. McKean, in a podcast called “Eavesdropping” made the
  29 following comments regarding the church, based on her personal experience: — I’ll
  30 close out with two soundbites from video evidence. The first one is by Lisa Johnson
                                               -24-
                                            COMPLAINT
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   1 from a recent episode of her podcast called “eavesdropping.”
   2                   “Women (in the ICOC) are getting ground up, and I mean
   3                   tons of people, it’s not an isolated case here and
   4                   there….And I think about these women now, after all these
   5                   years…
   6                   So I’m gonna bring up something here…
   7                   …The sexual abuse….there has been sexual abuse, there
   8                   has been emotional abuse, and there has been some
   9                   physical abuse of women… and part of that is the issue of
  10                   patriarchy. We developed a system and a way that was not
  11                   safe for women….There are women that have been very
  12                   damaged and ground up by that.
  13                   The fruit of this is so obvious, how can you miss it?! How
  14                   many women have been told to stay with their physically
  15                   abusive husbands and how many women have been
  16                   sexually abused?!”
  17 ICOC and ICC Refused to Report Pedophiles Who Were Later Arrested
  18        91.        Several pedophiles have been arrested in connection with various abuses.
  19 These individuals committed numerous crimes before the police intervened and are a
  20 miniscule representation of the true number of predators who have operated with
  21 impunity within the church since 1979.
  22        92.        In January 2012, David Iburg, aka David Saracino (“Mr. Saracino” or
  23 “David Saracino”) was sentenced to 40 years of hard labor in the State of Louisiana,
  24 the maximum sentence, for forcible rape upon a 4-year-old girl in 2004.11 The
  25 prosecutor, Cynthia Guillory, told the judge that he was among the worst of the worst.
  26 Mr. Saracino purposefully sought out women with financial problems so he could gain
  27 access to their small children, who became his victims. He had charges and convictions
  28 in Texas, Utah and Louisiana, where he received the 40-year sentence.
  29
  30        11
                 State v. Iburg, 12-2720 (La. 5/17/13), 118 So.3d 372
                                                            -25-
                                                        COMPLAINT
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   1         93.   David attended the East Region of the LA ICOC, where several members
   2 (single mothers) of the ICOC reported to the leaders in the East Region in or about
   3 1998 that David Saracino had continuously molested their daughters. Ultimately,
   4 several police reports were filed by the parents, while the ICOC remained silent. Just
   5 as the ICOC did nothing to address these reports while David escaped to the San Diego
   6 ICOC and freely resided in the Escondido area temporarily Like so many others, these
   7 mothers were told not to share with anyone else what David had done, as it would “hurt
   8 the church.” David ultimately disappeared uncaptured. David was free to go on a
   9 nationwide crime spree, abusing and raping little girls along the way. David was finally
  10 caught, but only an episode of America’s Most Wanted produced credible leads that
  11 resulted in his capture. Had ICOC assisted in his arrest or alerted their congregations,
  12 David Saracino could not have continued abusing children with reckless abandon.
  13 ICOC’s commitment to abject apathy is sickening and clearly intentional.
  14         94.   In or about February 2018, a volunteer soccer coach named Waldo Milla-
  15 Guerra of Middlesex County, New Jersey was arrested on charges of possession and
  16 distribution of child pornography. Mr. Milla-Guerra volunteered at the South
  17 Brunswick Soccer Club and formerly taught at Kid’s Kingdom at Central Jersey
  18 Church of Christ in North Brunswick.
  19         95.   In 2005, Benjamin Samuel Speights, a member of the south region of the
  20 LA ICOC, was convicted for lewd and lascivious acts against a child under the age of
  21 15. Mr. Speights’ unlawful conduct included forceable participation of a 14-year-old
  22 girl to create pornographic videos that he sold.
  23         96.   In December 2020 Mr. Speights was convicted in Arizona in connection
  24 with a Class 2 felony of sexual exploitation of a minor as part of a negotiated plea deal
  25 related to child pornography charges. Mr. Speights was a leader in the “Kid’s
  26 Kingdom” ministry in the El Segundo South Region of the Los Angeles ICOC. Several
  27 children at this ministry reported his physical abuse.
  28         97.   Without a doubt, Mr. Speights has a sordid and despicable history of
  29 abusing children.
  30         98.   Consistent with their historic complicity, the Defendants never reported
                                                -26-
                                             COMPLAINT
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   1 the abuse these children endured or attempted to prevent future abuses.
   2        99.    Nicholas Griffin Lombardi (“Mr. Lombardi”) is another example of a
   3 known pedophile abusing children within the Defendants’ churches. He was a long-
   4 standing member of the ICOC, as were his parents.
   5        100. On or about November 27, 2022, as a clear demonstration of kind of
   6 monster Mr. Lombardiis, Mr. Lombardi posted on his personal Facebook page “I kind
   7 of have a fantasy of fucking a child ha[.]”
   8        101. Mr. Lombardi was convicted for lewd and lascivious acts against a child
   9 under the age 15. In addition, there are numerous accusations of abuse against Mr.
  10 Lombardi, however, the Defendants refused to report his abusive conduct to the
  11 authorities, and he remains free to continue abusing children with impunity.
  12                             SPECIFIC ALLEGATIONS
  13 The Childhood Abuse of Plaintiff Bernice Perez
  14        102. Bernice Diaz was born in November of 1991 in California. In the mid
  15 90’s Bernice’s mother, Deziree Diaz (“Deziree”) was invited to the East Region of the
  16 ICOC by her sister, a who was an active member at the time. Deziree, Bernice and
  17 Darleen, Deziree’s oldest daughter, began attending the East Region ICOC
  18 congregation located in Los Angeles County, State of California.
  19        103. Bernice was systematically and intentionally indoctrinated by ICOC to
  20 believe the following: only members of ICOC were to be trusted; she must comply
  21 with any requests she received from adults; all medical treatment must occur within
  22 the ICOC by its members; and if she made any reports to the authorities, including
  23 Child Protective Services, her actions would result in Bernice being taken into foster
  24 care custody where she would be raped daily.
  25        104. In or about 1999, when Bernice was approximately 8 years old, Desiree’s
  26 friend advised her that her son had been a victim of abuse which caused Deziree to
  27 then ask her own children if they too had been victimized. When Deziree asked Bernice
  28 if she was abused, she learned that David Saracino, a member of ICOC, currently
  29 serving , had in fact sexually abused Bernice.
  30        105. In response to learning of the abuse David Saracino inflicted upon
                                               -27-
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   1 Bernice, Desiree immediately traveled to the East Region ICOC in hopes of exposing
   2 David Saracino’s abuse.
   3         106. During this time, Rob and Connie Kosberg were leaders of the East
   4 Region ICOC. Desiree met with Rob and Connie in a room located within the church
   5 while service was being held and David Saracino was in attendance. Rob and Connie
   6 told Desiree they had never experienced any other reports of that nature, apologized to
   7 her, and said they would support Desiree in whatever she chose to do. Rob and Connie
   8 also advised her that she should take some time to decide the best course of action.
   9         107. The following day, Desiree contacted the West Covina Police
  10 Department and filed a report against David Saracino. Unfortunately, by this time,
  11 David Saracino had already been tipped off by the leaders of ICOC and relocated
  12 to Escondido, CA. The investigation went stale because of ICOC’s cover up efforts.
  13         108. As a direct and proximate result of the abuse, at the hands of ICOC, and
  14 its leadership, Bernice suffered and continues to suffer a litany of injuries. Among
  15 other injuries, Bernice has experienced and will continue to experience for the rest of
  16 her life severe pain and suffering, emotional distress, humiliation, mental anguish, loss
  17 of enjoyment of life, loss of educational opportunity, loss of wages, loss of income,
  18 and loss of future wages.
  19 The Childhood Abuse of Plaintiff Darleen Diaz
  20         109. Darleen Diaz was born on August 9, 1989, in California. Darleen is the
  21 older sister of Bernice Diaz, mentioned above. When Desiree, Darleen’s mother, first
  22 approached Bernice and Darleen in 1999 and discovered Bernice’s sexual assault by
  23 David Saracino inflicted upon her Darleen initially denied experiencing any abuse. It
  24 was not until age 13 that Darleen disclosed the abuse she endured to Bernice. At
  25 only 9 years old, Darleen was sexually abused by David Saracino in or about 1998.
  26         110. Similar to Bernice, Darleen was systematically and intentionally
  27 indoctrinated by ICOC to believe that: only members of ICOC were to be trusted; she
  28 must comply with any requests she received from adults; all medical treatment must
  29 occur within the ICOC by its members; and any reports to the authorities, including
  30 Child Protective Services, would result in Bernice being taken into foster care custody
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   1 where she would be raped daily.
   2          111. As with many children who suffered childhood sexual abuse, Darleen’s
   3 internal defense mechanisms repressed the abuse and as a result, discovery of the abuse
   4 was delayed until Darleen reached middle school. In addition, as the eldest child,
   5 Darleen wanted to be the “strong one” for her sister, and took extra abuse from David
   6 Saracino to protect her sister.
   7          112. One time in particular, Darleen laid on top of Bernice in the backseat of
   8 the car, while David Saracino was sexually assaulting her in the backseat. Darleen
   9 wanted her sister Bernice to get all of the counseling and all of the help she needed,
  10 and didn’t want to take anything away from Bernice, so she initially denied the sexual
  11 abuse.
  12          113. After an incident triggered Darleen during her early teen years, Darleen
  13 felt compelled to disclose the abuse to her mother. Subsequently, Darleen tried to
  14 commit suicide in her early teens by trying to jump out of the car on the freeway.
  15          114. David Saracino invited Darleen, her sister and other young girls, to his
  16 home that he shared with other male church members from the ICOC. David Saracino
  17 convinced the girls to go swimming in his pool, which was merely an excuse for the
  18 girls to get undressed. He told the girls that they needed a bath and he used that
  19 opportunity to heavily fondle their naked bodies while they were bathing.
  20          115. In addition, David Saracino executed his abuse scheme by fabricating
  21 excuses to pick up or drop off Darleen and Bernice to/from school. David Saracino
  22 often preyed upon single mothers who worked full-time, as he sought to exploit their
  23 vulnerabilities by offering to transport and/or babysit their children. Desiree, the girls’
  24 mother she was counseled by the ICOC that she needed to trust David Saracino, as he
  25 was her “brother” in Christ.
  26          116. As a direct and proximate result of the abuse, at the hands of ICOC, and
  27 its leadership, Darleen suffered and continues to suffer a litany of injuries. Among
  28 other injuries, Darleen has experienced and will continue to experience for the rest of
  29 her life severe pain and suffering, emotional distress, humiliation, mental anguish, loss
  30 of enjoyment of life, loss of educational opportunity, loss of wages, loss of income,
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   1 and loss of future wages.
   2 The Childhood Abuse of Ashley Ruiz
   3         117. Plaintiff Ashley Ruiz was born in Los Angeles, State of California.
   4 Ashley’s mom were members of the East Region branch of ICOC beginning in
   5 approximately 1994. Ashley, like Bernice and Darleen, also experienced sexual abuse
   6 at the hands of David Saracino.
   7         118. Ashley’s abuse is documented in a police report dated October 28, 2004,
   8 filed by her mother Arlene Rangal approximately 8 years after the abuse occurred.
   9 During a conversation with a family member on or about October 28, 2004, Ashley
  10 recalled the sexual assault she repressed for many years.
  11         119. David Saracino often coerced Ashley’s mother Arlene to drop Ashley off
  12 at his residence, would pick Ashley up from school without Arlene’s permission, and
  13 was consistently forcing himself into Arlene’s life so that Saracino could gain access
  14 to Ashley. It was during these times that David Saracino sexually assaulted Ashley.
  15         120. When Ashley was approximately 5 years old, David Saracino would
  16 frequently, and without her mother’s permission, pick her up from school, take her to
  17 his personal residence, and would intimidate her using a consistent formula of sexual
  18 abuse. First, Saracino would force Ashley to watch pornographic videos depicting
  19 females performing fallatio as a demented version of a classroom scenario, where he
  20 would also consistently tell her that she needed to learn to “please her man.” Afterward,
  21 Saracino would then use the pretense of allowing her to swim in the pool he had on-
  22 site. David had virtually no intention of simply “allowing” Ashley to use his swimming
  23 pool. David Saracino would either physically undress her himself while fondling
  24 her developing body, or he would intimidate her into fully undressing and then
  25 Saracino would commonly lick her vagina After feigning ignorance over her lack of
  26 swimwear David would force her to swim naked or in her underwear while he would
  27 watch intently. After giving Ashley some time to swim, Saracino would take her inside
  28 his home, physically “bathe” her, and would force her to allow him to perform oral sex
  29 on her. Saracino would then either take Ashley home or would call her mother to pick
  30 her up. Saracino always intimidated Ashley into not telling anyone, including her
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   1 family, and that “everything would be ok.”
   2 The Sexual Abuse of Salud Gonzalez
   3        121. Salud Gonzalez was born in 1992.
   4        122. Salud’s parents were baptized into ICOC in 1995 when Salud was 3 years
   5 old. Salud’s parents attended church at the Los Angeles location where Salud was
   6 forced to attend the church’s Sunday School program also known as Kid’s Kingdom.
   7        123. Similar to Bernice, and Darleen, Salud was systematically and
   8 intentionally indoctrinated by ICOC to believe that: only members of ICOC were to be
   9 trusted; she must comply with any requests she received from adults; all counseling
  10 and/or therapy must occur within the ICOC by its members; and any reports to the
  11 authorities, including Child Protective Services, would result in children being taken
  12 into foster care custody where she would be raped daily.
  13        124. Beginning at the age of 4, Salud was sexually assaulted at the hands
  14 of Fernando Sanchez, the Kid’s Kingdom Teacher at ICOC. The abuse continued
  15 for five years.
  16        125. When Salud was 9, her parents were recruited by Mr. McKean to start a
  17 church in Portland, Oregon.
  18        126. In or about 2004, when Salud was approximately 12 years old and living
  19 in Portland, Fernando Sanchez contacted Salud by telephone. Salud could no longer
  20 keep secret the abuse she endured, and she informed her parents of the sexual abuse
  21 Fernando Sanchez committed.
  22        127. Upon learning of the sexual abuse by Fernando Sanchez, Salud’s father
  23 informed ICOC leadership and demanded they take action and at least remove Sanchez
  24 from his role at Kid’s Kingdom. No action was taken by ICOC leadership and Sanchez
  25 continued to teach at Kid’s Kingdom no doubt abusing other children.
  26        128. In 2007 at the age of 15, Salud moved back to Los Angeles with her
  27 parents. At the time Salud was experiencing serious substance dependency issues.
  28 Salud’s parents demanded that she participate in the “Chemical Recovery” rehab
  29 through the ICC. By this time, Salud’s parents had left the ICOC and followed Mr.
  30 McKean to the ICC.
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   1        129. The leaders of the “Chemical Recovery” rehab were Russ and Lana
   2 Preston but the program was run by Selina Ann Boquet and Omar Valdavinos. Selina
   3 and Omar were married at the time and close friends of Salud’s parents. Selina was
   4 also a kindergarten teacher at the time and currently is employed by a School District
   5 in the State of Texas.
   6        130. Once Salud enrolled in the “Chemical Rehab” program and despite having
   7 no training in substance rehab, Salena was assigned to Salud’s rehab process.
   8        131. Instead of assisting Salud with her substance dependency, Selina
   9 would provide alcohol to Salud at the “rehab” meetings sexual assaulted her.
  10        132. In 2008 Selina confessed to her then sister-in-law, Aurora, that had
  11 engaged in sexual activity with Salud. Aurora reported this information to ICC
  12 leadership and others but no action was taken against Salena. Instead of taking action
  13 against Selina, the ICC leadership in Los Angeles met and determined that Salud
  14 would be blamed for the sexual abuse by Selina because Salud was “very
  15 powerful” suggesting that Salud was a 15-year-old seductress. The ICC leaders
  16 who made this decision included, Michael Kirchner, Tony and Therese Untalan,
  17 Tim and Lianne Kernan and Nick and Denise Bordieri. Salud was thrown out of
  18 the ICC for “adultery” at age 15. Selina divorced Omar and left the ICC as well.
  19 Salud’s father was told by ICC leaders that Salud would have to apologize to the
  20 church members for her “affair” with Selina in order to return to the ICC.
  21        133. Also in 2008, Salud’s father was told about the abuse by Fernando
  22 Sanchez. Although Salud’s family had left the ICOC and moved on the ICC by that
  23 time, her father attempted to confront Fernando Sanchez (only to learn that Sanchez
  24 had moved). Immediately thereafter, Salud’s father confronted Marty Fuqua, the leader
  25 of the Los Angeles ICOC, and demanded that action be taken in connection with
  26 Fernando Sanchez. In response, Fuqua told Salud’s father “What do you want me to
  27 do about it?”
  28        134. In 2008, Salud was also sexually assaulted by Josue Soriano. Salud was
  29 17 and Soriano was 30 at the time when the ICC paired them and boyfriend and
  30 girlfriend.
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   1         135. From 2008 to December 2021 Salud had no contact with Salena. In
   2 December 2021, Salud found Salena in Austin, Texas. Salud contacted Selina and
   3 confronted her about the sexual abuse. Selina invited Salud to Austin and apologized
   4 to Salud. Salud remained in Austin with Selina for 6 months. During that time, Selina
   5 attempted to further manipulate Salud. During that period of time, Salud attempted
   6 suicide by hanging herself.
   7         136. As a direct and proximate result of the abuse, at the hands of ICOC, and
   8 its leadership, Salud suffered and continues to suffer a litany of injuries. Among other
   9 injuries, Salud has experienced and will continue to experience for the rest of her life
  10 severe pain and suffering, emotional distress, humiliation, mental anguish, loss of
  11 enjoyment of life, loss of educational opportunity, loss of wages, loss of income, and
  12 loss of future wages.
  13 The Sexual Abuse of Elena Peltola
  14         137. Elena was forced into the ICOC as a child by virtue of her parents’
  15 participation.
  16        138. In, 2012 when Elena was 13, she was sent on an ICOC mission trip to
  17 Honduras. The trip was organized by ICOC’s affiliate defendant HOPE Worldwide.
  18
            139. Although the minimum age to participate in mission trips was 16, Elena
  19
     was “encouraged” to participate in the 2012 trip by Dr. Milton Drake. Drake was the
  20
     lead director and board member of Hope.
  21
            140. Prior to the 2012 trip, Elena was groomed by various ICOC and Hope
  22
     leaders. Comments were made about her early physical development among other
  23
     things. She was instructed to trust and obey all of the “brothers” in the church and
  24
  25 rebuked anytime she would question church leaders.
  26         141. While on the 2012 mission trip, Elena was lured into an isolated location
  27 in the jungle and repeatedly raped by a 25-year-old male member of the ICOC for
  28 four (4) hours. When Elena was able to escape, she sought out her mother who was
  29 also on the trip. However, Elena was in complete shock and unable to talk for several
  30 days.
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   1        142. Upon return to Boston, Elena was ordered by Drake and various ICOC
   2 and Hope leaders to provide a written account of what occurred during the the 4 hours
   3 she was “missing” so that the leadership could decide if “she would be allowed to
   4 participate in future fun events”. Thereafter, Elena was isolated from other teens and
   5 generally treated differently from the others. After Elena wrote a statement describing
   6
     her assault, ICOC and Hope leaders and other victim blamed her and called her a
   7
     “slut” for several months.
   8
            143. After repeated interrogations the leadership determined that Elena was a
   9
     “liability”. Eventually, Elena was kicked out of the ICOC. No report of her rape was
  10
     made by ICOC or Hope leadership to law enforcement.
  11
            144. In June 2022, the ICOC and Hope published a picture, depicted below, of
  12
  13 Elena from the 2012 Honduras mission trip as part of its marketing materials. The
  14 picture was the day before Elena was raped.
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   1                             FIRST CLAIM FOR RELIEF
   2                          SEXUAL ASSAULT OF A MINOR
   3                        (Against All Defendants and Does 1-100)
   4        145. Plaintiffs re-allege and incorporate by reference herein each and every
   5 allegation contained herein above as though fully set forth and brought in this cause of
   6 action.
   7        146. Defendants intentionally, willfully, and maliciously sexually assaulted
   8 and/or sexually abused and molested Plaintiff during the time that Plaintiff was a
   9 minor.
  10        147. In committing the unlawful acts of sexual assault against Plaintiff, the
  11 Defendants intended to put Plaintiff in imminent apprehension of harmful or offensive
  12 contact.
  13        148. The Defendants put Plaintiffs in imminent apprehension of such harmful
  14 offensive contact as Plaintiffs actually believed the Defendants had the ability to make
  15 harmful or offensive contact with plaintiff’s person.
  16        149. Plaintiffs did not consent to the       Defendants’ intended harmful or
  17 offensive contact with plaintiff, the Defendants’ intention to put Plaintiffs in fear of
  18 imminent apprehension of such contact, plaintiff was a minor during the time herein
  19 alleged and, therefore, lacked the ability to consent to sexual contact with any person,
  20 including the Defendants.
  21        150.    As a direct and legal result of this conduct. Plaintiffs suffered harm
  22 including, but not limited to, physical, mental, and emotional injuries of childhood
  23 sexual abuse and molestation; was caused to incur medical and other expenses for care,
  24 treatment, and counseling, and Plaintiffs will continue to incur all such damages in the
  25 future, and other damages, in an amount not yet ascertained, but which exceed the
  26 minimum jurisdictional limits of this Court.
  27        151. The Defendants conduct described herein was oppressive, malicious, and
  28 despicable in that it was intentional and done in conscious disregard for the rights and
  29 safety rights of Plaintiffs, and with the substantial certainty that it would cause
  30 Plaintiffs, to suffer humiliation, mental anguish, and emotional and physical distress.
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   1         152. The Defendants’ conduct as alleged constitutes malice and oppression
   2 under California Civil Code section 3294. Plaintiffs are therefore entitled to the
   3 recovery of punitive damages in an amount to be determined by the Court.
   4                             SECOND CAUSE OF ACTION
   5                      VIOLATION OF PENAL CODE 647.6(a)(1)
   6                         (Against All Defendants and Does 1-100)
   7         153. Plaintiffs re-allege and incorporate by reference herein each and every
   8 allegation contained herein above as though fully set forth and brought in this cause of
   9 action.
  10         154. California Penal Code § 647.6(a)(1) provides that "[every person who
  11 aims or molests any child under 18 years of age shall be punished by a fine not
  12 exceeding five thousand dollars ($5,000), by imprisonment in a county jail not
  13 exceeding one year, or by both the fine and imprisonment."
  14         155. As alleged herein, the Defendants engaged in sexual penetration with
  15 Plaintiffs while Plaintiffs were under eighteen years of age, in violation of California
  16 Penal Code § 647.6(a)(1).
  17         156.   Under California law, victims of childhood sexual abuse are entitled to
  18 bring civil actions for violations of Penal Code provisions that prohibit adults from
  19 engaging in sexual acts with minors, including Penal Code § 647.6(a)(1). See Angie
  20 M. v. Superior Court, (1995) 37 6 Cal.App.4th 1217, 1224-1225.
  21         157. The Defendants above-noted actions in annoying and molesting the minor
  22 Plaintiffs was the proximate and legal causes of physical, psychological, emotional,
  23 and economic damages Plaintiffs have suffered and continues to suffer to this day. It
  24 also has resulted in Plaintiffs incurring, and will require Plaintiffs to incur into the
  25 future, expenses for medical and psychological treatment, therapy, and counseling.
  26         158. The above-described conduct of the            Defendants was oppressive,
  27 malicious and despicable in that it was intentional and done in conscious disregard for
  28 the rights and safety of Plaintiffs, and was carried out with a conscious disregard of
  29 Plaintiffs right to be free from such tortious behavior, such as to constitute oppression,
  30 fraud or malice pursuant to California Civil Code section 3294, entitling Plaintiffs to
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   1 punitive damages against the Defendants in an amount appropriate to punish and set
   2 an example of them.
   3                             THIRD CAUSE OF ACTION
   4            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
   5                        (Against All Defendants and Does 1-100)
   6        159.    Plaintiffs re-allege and incorporate by reference herein each and every
   7 allegation contained herein above as though fully set forth and brought in this cause of
   8 action.
   9        160. The conduct of all Defendants as set forth in this Complaint was extreme
  10 and outrageous, and committed with the intention of causing, or reckless disregard of
  11 the probability of causing, emotional distress.
  12        161. A reasonable person would not expect or tolerate the sexual assault
  13 committed by Defendants.
  14        162. A reasonable person would not expect, accept or tolerate Defendants’
  15 unlawful sexual assault and/or sexual abuse, and molestation of Plaintiffs.
  16        163. Defendants’ conduct exceeded all bounds of that usually tolerated in a
  17 civilized community.
  18        164. Defendants intended to cause Plaintiffs injury when they sexually
  19 assaulted Plaintiffs, manipulated and brainwashed Plaintiffs into silence and actively
  20 concealed Plaintiffs’ abuse.
  21        165. Plaintiffs have suffered severe and/or extreme distress as a result.
  22        166. As a direct and legal result of Defendants’ conduct, Plaintiffs suffered
  23 harm including, but not limited to, physical, mental, and emotional injuries of
  24 childhood sexual abuse and molestation; was caused to incur medical and other
  25 expenses for care, treatment, and counseling, and Plaintiffs will continue to incur all
  26 such damages in the future, and other damages, in an amount not yet ascertained, but
  27 which exceed the minimum jurisdictional limits of this Court.
  28        167. Defendants’ conduct described herein was oppressive, malicious and
  29 despicable in that it was intentional and done in conscious disregard for the rights and
  30 safety rights of Plaintiffs, and with the substantial certainty that it would cause
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   1 Plaintiffs, to suffer humiliation, mental anguish and emotional and physical distress.
   2         168. Defendants’ conduct as alleged constitutes malice and oppression under
   3 California Civil Code section 3294. Plaintiffs are, therefore, entitled to the recovery of
   4 punitive damages, in an amount to be determined by the Court.
   5                                FOURTH CAUSE OF ACTION
   6                NEGLIGENT HIRING, SUPERVISION, AND RETENTION
   7                         (Against All Defendants and Does 1-100)
   8         169. Plaintiffs re-allege and incorporate by reference herein each and every
   9 allegation contained herein above as though fully set forth and brought in this cause of
  10 action.
  11         170. At all times relevant, a special relationship existed between Defendants
  12 and the Defendants, because the Defendants were the agents of Defendants, each of
  13 whom had the ability to control of the Defendants’ conduct, yet failed to exert it. In
  14 doing so, Defendants created a widespread culture of acceptance of the abuse of
  15 children, as Defendants and the Defendants collectively brainwashed and manipulated
  16 Plaintiffs to remain silent about the abuse and these Defendants also actively concealed
  17 the abuse to avert discovery by the authorities.
  18         171. At all times herein. Defendants, and each of them, negligently supervised,
  19 managed, and controlled the Defendants in their membership and participation in
  20 Defendants' Church, and negligently failed to warn Plaintiffs, Plaintiffs’ parents, and
  21 other members of the Church, of the propensity and risk that the Defendants would
  22 sexually assault, sexually abuse, and/or molest minor children, a propensity and history
  23 of which Defendants, and each of them, acting through their employees, agents, and
  24 volunteers, had actual notice.
  25 During the same time period. Defendants, and each of them, were negligent in failing
  26 to exercise reasonable care to protect Plaintiffs, and other minors, who were members
  27 of, or participants in, activities at Defendants' Church, from the risk of sexual assault,
  28 sexual abuse and molestation by perpetrators, including the Defendants.
  29         172.    Defendants were further negligent in failing to notify law enforcement
  30 and other appropriate authority that Plaintiffs were and/or continued to be a victim of
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   1 child abuse/assault by the Defendants when they learned of this fact. Defendants'
   2 failure to report the known and/or reasonably suspected child abuse of Plaintiffs, but
   3 instead the Defendants perpetuated and facilitated the Defendants’ continued sexual
   4 abuse and/or sexual assault, and molestation of Plaintiffs.
   5         173. If Defendants satisfied their duty to take reasonable steps to protect
   6 Plaintiffs all minor children, from known and/or foreseeable harm, including sexual
   7 assault, including reporting the sexual assault and/or sexual abuse, and molestation to
   8 law enforcement, then some or all of the Plaintiff’s injuries would have been avoided.
   9         174. Prior to, during, and after the sexual assault of Plaintiffs, Defendants,
  10 through their administrators, employees, agents, and/or volunteers, had knowledge,
  11 and/or were otherwise on notice, that the Defendants had and/or was engaged in,
  12 and/or presented the risk of, sexual assault of Plaintiffs, and other minors.
  13         175. Plaintiffs are informed, believes, and thereupon alleges that prior to, and
  14 during the     Defendants’ sexual assault and/or sexual abuse, and molestation of
  15 Plaintiffs, Defendants knew or should have known, reasonably suspected, and/or were
  16 otherwise on notice, of the       Defendants’ unlawful conduct, as set forth in this
  17 Complaint, but failed and/or refused to take any affirmative action, including but not
  18 limited to notifying law enforcement. Instead, Defendants directed Plaintiffs and
  19 Plaintiffs’ parents to continue to have contact with the Defendants thereby ratifying
  20 and facilitating the Defendants’ continued sexual assault and/or sexual abuse and
  21 molestation of Plaintiffs.
  22         176.   Defendants breached their duties by failing to use reasonable care to
  23 protect Plaintiffs from their pastor, deacon, employee, and/or agent, to wit, the
  24 Defendants.
  25         177. If Defendants fulfilled their duty and responsibility, then Plaintiffs would
  26 not have been subject to all or most of the misconduct perpetrated against her and the
  27 resulting harm.
  28         178. As a direct and legal result of Defendants' conduct. Plaintiffs suffered
  29 harm including, but not limited to, physical, mental, and emotional injuries of
  30 childhood sexual abuse and molestation; was caused to incur medical and other
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   1 expenses for care, treatment, and counseling, and Plaintiffs will continue to incur all
   2 such damages in the future, and other damages, in an amount not yet ascertained, but
   3 which exceed the minimum jurisdictional limits of this Court.
   4         179. Plaintiffs are informed, believes, and thereupon alleges that Defendants'
   5 failure to respond, investigate, terminate the Defendants’ employment, report, or take
   6 any other action following Plaintiffs, other minor children, and Plaintiffs parents' report
   7 of sexual assault and/or abuse by the Defendants was part of Defendants' concerted
   8 effort to cover up and/or hide evidence related to childhood sexual assault of minor
   9 children, including Plaintiffs.
  10         180. Plaintiffs’ damages as a result of the Defendants’ repeated sexual assault,
  11 abuse, and molestation of Plaintiffs was a direct result of Defendants' concealment and
  12 cover-up. As such. Plaintiffs are entitled to treble damages against           Defendants
  13 pursuant to Code of Civil Procedure section 340.1(b)(2).
  14                              FIFTH CAUSE OF ACTION
  15                     NEGLIGENT SUPERVISION OF A MINOR
  16                         (Against All Defendants and Does 1-100)
  17         181. Plaintiffs re-allege and incorporate by reference herein each and every
  18 allegation contained herein above as though fully set forth and brought in this cause of
  19 action.
  20         182.   Defendants and McKean and Lucas (McKean and Lucas are collectively,
  21 the “Church Leader Defendants”), and each of them, were responsible for the care,
  22 custody, control, supervision, and protection of the minor children entrusted to them,
  23 including Plaintiffs.    Defendants and Church Leader Defendants had a duty to
  24 adequately and properly supervise, monitor, and protect Plaintiffs from known and
  25 knowable dangers, such as those posed by the Defendants.
  26         183.   Defendants and Church Leader Defendants, and each of them, breached
  27 their duty to properly and adequately supervise, monitor, and protect Plaintiffs, in part
  28 because officers, administrators, agents, and other supervisory employees knew or
  29 should have known of the Defendants’ improper behavior, including that minor
  30 children, including Plaintiffs, were frequently alone with the Defendants without any
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   1 justification, that the Defendants would frequently touch and sexually abuse minor
   2 children, including Plaintiffs, at Church Leader Defendants and Defendants' Churches
   3 without any justifiable reason for doing so, including when the minor children were by
   4 themselves, and the Defendants sexually abused, assaulted, and/or molested minor
   5 children, including but not limited to Plaintiffs.
   6        184.    Defendants and Church Leader Defendants, acting through their
   7 administrative and supervisory employees, knew or should have known that Plaintiffs
   8 were unattended and unsupervised with the Defendants on numerous occasions,
   9 without any justification.
  10 It should have been obvious to any officer, agent, administrator, employee, or staff
  11 member that there was no reason that neither Plaintiffs, nor any other child, should
  12 have been alone with the Defendants. The employees and agents of Defendants and
  13 Church Leader Defendants instead turned a blind eye to the fact that the Defendants
  14 were spending time with minor children, including Plaintiffs, unattended and
  15 unsupervised without any investigation into the matter.
  16        185. After engaging in grooming activity of Plaintiffs while spending time
  17 alone with Plaintiffs, the Defendants started sexually assaulting, sexually abusing, and
  18 molesting Plaintiffs and other minor children on Defendants' premises and during
  19 Defendants and Church Leader Defendants’ church related services. The acts of sexual
  20 assaults and abuse occurred while Plaintiffs were left unattended and unsupervised
  21 with Plaintiffs.
  22        186. If     Defendants and Church Leader Defendants, and each of them,
  23 adequately and properly supervised, monitored, and protected Plaintiffs, Plaintiffs
  24 would not have been harmed, or would not have been harmed to the extent that
  25 Plaintiffs were.
  26        187.    Defendants and Church Leader Defendants, and each of them, also
  27 recklessly and negligently failed to implement and/or enforce policies and procedures
  28 that were aimed at preventing or detecting sexual assault and assault of their minor
  29 members.
  30        188. If     Defendants and Church Leader Defendants, and each of them,
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   1 adequately performed their duties and responsibilities, then Plaintiffs would not have
   2 been subject to the sexual assault, assault and harassment perpetrated by the
   3 Defendants.
   4         189.   Plaintiffs have been severely damaged emotionally and physically, and
   5 otherwise, in amounts to be proven at the time of trial, but which exceed the
   6 jurisdictional limits of the Superior Court as a direct and legal result of the acts and
   7 omissions of Defendants and Church Leader Defendants, and each of them.
   8                                 SIXTH CAUSE OF ACTION
   9           FAILURE TO REPORT SUSPECTED CHILD ABUSE IN VIOLATION
  10           OF PENAL CODE SECTION 11165. ET SEP. BASED ON VICARIOUS
  11                                           LIABILITY
  12                            (Against All Defendants and Does 1-100)
  13         190.   Plaintiffs re-allege and incorporate by reference herein each and every
  14 allegation contained herein above as though fully set forth and brought in this cause of
  15 action.
  16         191.   Defendants and Church Leader Defendants, through their administrators
  17 and employees knew or reasonably suspected that the Defendants had, and or was,
  18 engaged in the sexual assault of children while the children were under the care,
  19 custody, and supervision of Defendants, and each of them, and thus had a duty to
  20 report the Defendants to the appropriate authorities under the California Child Abuse
  21 and Neglect Reporting Law. (Penal Code §§ 11164-11174.3, "CANRA".)
  22         192. At all times relevant herein and material hereto, the Defendants were
  23 employees of Defendants and Church Leader Defendants. Defendants and Church
  24 Leader Defendants were responsible for hiring, training, supervising, and retaining the
  25 Defendants as part of their church and youth bible studies program. Defendants and
  26 Church Leader Defendants’ staff, employees, and administrators were required to
  27 report any suspected child or sexual abuse as part of their duties and responsibilities as
  28 employees and/or agents of Defendants and Church Leader Defendants.
  29         193.   Defendants' and Church Leader Defendants’ administrators, board
  30 members, and employees are mandated reporters under Penal Code section 11165.7.
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   1         194. Penal Code section 11166(a) states that a mandated reporter shall make a
   2 report to an agency whenever he/she, in his/her professional capacity or within the
   3 scope of his/her employment, has knowledge of or observes a child whom the
   4 mandated reporter knows, or reasonably suspects has been a victim of child abuse or
   5 neglect. "Reasonable suspicion" does not require certainty that child abuse or neglect
   6 has occurred but looks to if it is objectively reasonable for a person to entertain a
   7 suspicion to suspect child abuse or neglect. (Penal Code § 11 lr66(a)(l).)
   8         195. As set forth in this Complaint,           Defendants and Church Leader
   9 Defendants, through their administrators, board members, and employees knew and/or
  10 reasonably suspected that children had been sexually assaulted by the Defendants,
  11 prior to the Defendants’ sexual assault of Plaintiffs, giving rise to a duty to report such
  12 conduct under CANRA.
  13         196.   Defendants and Church Leader Defendants, through their administrators,
  14 board members, and employees knew that in the absence of the exercise of reasonable
  15 diligence, that an undue risk to minors, including the Plaintiffs, existed because
  16 Defendants' administrators, board members, and/or employees did not comply with
  17 California's mandatory reporting requirements.
  18         197.   Defendants, through their administrators, board members, and
  19 employees, including but not limited to and Church Leader Defendants, failed to report
  20 the known and/or reasonably suspected child molestations and assaults, created the risk
  21 and danger contemplated by CANRA, and a result, unreasonably and wrongfully
  22 exposed Plaintiffs and other minors to sexual molestation and abuse,
  23         198. If     Defendants, through their administrators, board members, and
  24 employees, including but not limited to the Church Leader Defendants, complied with
  25 CANRA's mandatory reporting requirements, then Plaintiffs would not have been
  26 harmed at all or to the extent that she was.
  27         199. As a direct result of Defendants and Church Leader Defendants’ failure
  28 to comply with CANRA's mandatory reporting requirements, through their
  29 administrators, board members, and employees.           Defendants and Church Leader
  30 Defendants wrongfully denied the Plaintiffs the intervention of child protection
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   1 services and constituted a per se breach of Defendants, through their administrators,
   2 board members, and employees, duties to Plaintiffs.
   3         200. As a direct and legal result of Defendants and Church Leader Defendants'
   4 conduct, Plaintiffs suffered severe and permanent injuries including, but not limited to,
   5 physical and mental pain and suffering, severe emotional distress, physical injuries,
   6 past and future costs of medical care and treatment, and other damages, in an amount
   7 not yet ascertained, but which exceed the minimum jurisdictional limits of this Court.
   8                               SEVENTH CAUSE OF ACTION
   9                                        NEGLIGENCE
  10                            (Against All Defendants and Does 1-100)
  11         201. Plaintiffs re-allege and incorporate by reference herein each and every
  12 allegation contained herein above as though fully set forth and brought in this cause of
  13 action.
  14         202.   Defendants owed a duty of care to the minor Plaintiffs or had a duty to
  15 control the conduct of the Defendants by way of the special relationship existing
  16 between those individuals and Plaintiffs.
  17         203. Defendants knew or should have known, reasonably suspected, and/or
  18 were otherwise on notice, of the misconduct and sexually predatory behavior of the
  19 Defendants directed towards minor children, including Plaintiffs.
  20         204. Despite having knowledge of the misconduct of the Defendants, all
  21 Defendants herein failed to take any preventative action to control, curb, and/or prevent
  22 that conduct, failed to warn Plaintiffs or Plaintiffs’ parents of that wrongful conduct,
  23 and/or failed to notify law enforcement, despite having a legal duty to do so.
  24         205. As a direct and legal result of Defendants’ negligence, Plaintiffs were
  25 sexually assaulted, sexually abused, sexually harassed, and assaulted by the
  26 Defendants.
  27         206. If Defendants fulfilled their duty and responsibility, then Plaintiffs would
  28 not have been subject to all or most of the misconduct perpetrated against Plaintiffs
  29 and the resulting harm.
  30         207. As a direct and legal result of Defendants’ conduct, Plaintiffs suffered
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   1 severe and permanent injuries including, but not limited to, physical and mental pain
   2 and suffering, severe emotional distress, physical injuries, past and-future costs of
   3 medical care and treatment, and other damages, in an amount not yet ascertained, but
   4 which exceed the minimum jurisdictional limits of this Court.
   5                            EIGHTH CLAIM FOR RELIEF
   6 Violation of Federal Racketeer Influenced and Corrupt Organization (“RICO”)
   7                                 Act 18 U.S.C. § 1962(c)
   8                        (Against All Defendants and Does 1-100)
   9        208.    Plaintiffs re-allege and incorporate by reference herein each and every
  10 allegation contained herein above as though fully set forth and brought in this cause of
  11 action.
  12        209. Plaintiffs bring this claim for relief under the private cause of action
  13 provided by 18 U.S.C. § 1984(c), which prohibits violations of the Federal RICO Act
  14 insofar as such violation injures any person in his business or property.
  15        210. Defendants are “persons” within the meaning of 18 U.S.C. § 1961(3) who
  16 conducted the affairs of the enterprise through a pattern of racketeering activity in
  17 violation of 18 U.S.C. § 1962(c).
  18        211. The Abuse Enterprise, distinct from Defendants, is an association-in-fact
  19 within the meaning of 18 U.S.C. § 1961(4), organized within individual ministries,
  20 funneling into regions governed by individual bishops, and headquartered in Los
  21 Angeles, California. Members of the Abuse Enterprise maintain a common purpose of
  22 extracting money from its members and perpetrating sexual abuse upon minor children
  23 under the auspices of liturgical praxis and writings taught by its church ministers
  24 worldwide. The Abuse Enterprise began as early as 1979 and continues with a growing
  25 global membership of more than 120,000 today.
  26        212. Defendants have conducted and participated in the affairs of the Abuse
  27 Enterprise through a pattern of racketeering activity within the meaning of 18
  28 U.S.C. §§ 1961(1) and 1961(5).
  29        213. Defendants’ pattern of racketeering activity includes, but is not limited to,
  30 many repeated occurrences of the following predicate acts: sexual exploitation of
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   1 minors and the transmission of visual depictions of minors engaged in sexually explicit
   2 conduct in violation of 18 U.S.C. §§ 2251, 2252, and 2260.
   3         214. Each Defendant, in their individual capacity, knew or should have known
   4 about the majority of the predicate acts carried out by Defendants within the Abuse
   5 Enterprise.
   6         215. Upon information and belief, some combination of Defendants have
   7 engaged in an uninterrupted course of unlawful conduct consisting of all of the herein
   8 described predicate acts.
   9         216. Defendants’ pattern of racketeering activity includes, but is not limited to,
  10 many repeated occurrences of the following predicate acts: (i) violating the prohibition
  11 against human trafficking under 18 U.S.C. § 1590; (ii) laundering of monetary
  12 instruments outside of the United States with the intent to promote the carrying on of
  13 unlawful activity in violation of 18 U.S.C. §1956(a)(2); and (iii) sexual exploitation of
  14 minors and the transmission of visual depictions of minors engaged in sexually explicit
  15 conduct in violation of 18 U.S.C. §§ 2251, 2252, and 2260 Upon information and
  16 belief, several hundred children have been sexually exploited as a result of this pattern
  17 of racketeering behavior.
  18         217. Upon information and belief, hundreds of individuals within Defendants’
  19 inner circles have been extorted through fear of financial and physical injury into
  20 making large financial payments to Defendants and into providing sexual services to
  21 Defendants as a result of this pattern of racketeering behavior.
  22         218. Upon information and belief, many millions of dollars have been
  23 trafficked out of the United States for the purposes of carrying on unlawful activity as
  24 a result of this pattern of racketeering behavior.
  25         219. Upon information and belief, Defendants’ pattern of racketeering
  26 behavior has been related and continuous since its inception. Upon information and
  27 belief, there is not only a threat of continued criminal activity, but continued criminal
  28 activity is occurring within the Abuse Enterprise at the hands of nearly all Defendants
  29 as of the writing of this Complaint.
  30         220. Defendants and the Abuse Enterprise regularly move goods, money, and
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   1 people across state lines, and are therefore engaged in interstate commerce.
   2         221. As a direct and proximate result of Defendants’ patterns of racketeering
   3 behaviors, Plaintiffs have sustained damages, including lost wages, loss of economic
   4 opportunity, loss of educational opportunity, loss of future income, loss of specific
   5 extorted payments, physical injury, severe emotional distress, and additional economic
   6 losses.
   7         222. Plaintiffs are therefore entitled to recover treble the damages she sustained
   8 in an amount to be proven at trial, the cost of the suit, plus a reasonable attorney’s fee,
   9 pursuant to 18 U.S.C. § 1964(c).
  10                            NINETH CLAIM FOR RELIEF
  11                 Sexual Battery in Violation of Cal. Civ. Code § 1708.5
  12                         (Against All Defendants and Does 1-100)
  13         223.   Plaintiffs re-allege and incorporate by reference herein each and every
  14 allegation contained herein above as though fully set forth and brought in this cause of
  15 action.
  16         224. Plaintiffs bring this claim for relief under Cal. Civ. Code Section 1708.5,
  17 which prohibits sexual battery.
  18         225. Plaintiffs bring this claim pursuant to California Assembly Bill 218,
  19 amending Sections 340.1 and 1002 of the Code of Civil Procedure and Section 905 of
  20 the Government Code, relating to childhood sexual assault, reviving until December
  21 31, 2023 the statute of limitations for all previously extinguished claims for damages
  22 suffered as a result of childhood sexual assault for victims within 22 years of the age
  23 of majority.
  24         226. As alleged herein, Plaintiffs the victim of sexual battery as a minor
  25 perpetrated by the Defendants. The Defendants subjected Plaintiffs to this sexual
  26 battery at the hands of while Plaintiffs were minors.
  27         227. Cal. Civ. Code § 1708.5 prohibits any act with the intent to cause a
  28 harmful or offensive contact with an intimate part of another, and a sexually offensive
  29 contact with the person results, or any act that causes an imminent apprehension of
  30 such harmful or offensive contact and the offensive contact results.
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   1         228. The Defendants, Defendants and Church Leader Defendants knowingly
   2 conspired and/or aided and abetted to force Plaintiffs into sexual battery with the
   3 Defendants, and such sexual battery did, on multiple occasions, occur.
   4         229. Plaintiffs were minors minor when the Defendants sexually battered
   5 them.
   6         230. Each Defendant knowingly conspired and/or aided and abetted to create
   7 conditions of coercion and control that caused Plaintiffs to be repeatedly subjected to
   8 private, egregiously offensive sexual contact with the Defendants, all in furtherance
   9 of sexually battering Plaintiffs and in furtherance of the Abuse Enterprise.
  10         231. The sexual battery of Plaintiffs by the Abuse Defendants was the result of
  11 Defendants’ collective cover up, as statutorily defined by California Code of Civil
  12 Procedure § 340.1(b).
  13         232. As a direct and proximate cause of Defendants’ actions, Plaintiffs have
  14 suffered severe emotional and mental distress and anxiety, humiliation,
  15 embarrassment, and additional damages.
  16         233. The aforementioned conduct was willful, wanton, and malicious. At all
  17 relevant times, Defendants acted with conscious disregard of Plaintiffs’ rights and
  18 safety as a minor in their care. Defendants also acted with the knowledge of or with
  19 reckless disregard for the fact that their conduct was certain to cause injury and/or
  20 humiliation to Plaintiffs.
  21         234. Plaintiffs are therefore entitled to recover treble the amount of damages
  22 they sustained, pursuant to California Code of Civil Procedure § 340.1(b)(1) in an
  23 amount to be proven at trial, attorneys’ fees, and other relief that the Court may deem
  24 proper.
  25                              TENTH CLAIM FOR RELIEF
  26                 Gender Violence in Violation of Cal. Civ. Code § 52.4
  27                          (Against Defendants and Does 1-100)
  28         235.   Plaintiffs re-allege and incorporate by reference herein each and every
  29 allegation contained herein above as though fully set forth and brought in this cause of
  30 action.
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   1        236.   Plaintiffs bring this claim for relief under Cal. Civ. Code Section 52.4,
   2 which prohibits acts of gender violence.
   3        237. Plaintiffs bring this claim pursuant to California Assembly Bill 218,
   4 amending Sections 340.1 and 1002 of the California Code of Civil Procedure and
   5 Section 905 of the Government Code, relating to childhood sexual assault, reviving
   6 until December 31, 2023 the statute of limitations for all previously extinguished
   7 claims for damages suffered as a result of childhood sexual assault for victims within
   8 22 years of the age of majority.
   9        238. As alleged herein, Plaintiffs were the victims of multiple instances of
  10 sexual battery as a minor perpetrated by the       Defendants and facilitated by all
  11 Defendants herein.      Defendants subjected Plaintiffs to these multiple incidents of
  12 sexual battery at the hands of the Defendants while Plaintiffs were minors.
  13        239. Cal. Civ. Code § 52.4 prohibits commission of acts of gender violence,
  14 defined to include a physical intrusion or physical invasion of a sexual nature under
  15 coercive conditions, whether or not those acts have resulted in criminal complaints,
  16 charges, prosecution, or conviction.
  17        240. As alleged herein, Plaintiffs were repeatedly the victim of acts of gender
  18 violence by the Defendants while they were minors.
  19        241. Each Defendant herein knowingly conspired and/or aided and abetted to
  20 create conditions of coercion and control that caused Plaintiffs to be repeatedly
  21 subjected to private, egregiously offensive sexual contact with the Defendants, all in
  22 furtherance of committing acts of gender violence against Plaintiffs.
  23        242. The repeated sexual battery of Plaintiffs by the Defendants was the result
  24 of Defendants’ collective cover up, as statutorily defined by California Code of Civil
  25 Procedure § 340.1(b).
  26        243. As a direct and proximate cause of Defendants’ actions, Plaintiffs have
  27 suffered severe emotional and mental distress and anxiety, humiliation,
  28 embarrassment, and additional damages.
  29        244. The aforementioned conduct was willful, wanton, and malicious. At all
  30 relevant times, Defendants acted with conscious disregard of Plaintiffs’ rights and
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   1 safety as a minor in their care. Defendants also acted with the knowledge of or with
   2 reckless disregard for the fact that their conduct was certain to cause injury and/or
   3 humiliation to Plaintiffs.
   4        245. Plaintiffs are therefore entitled to recover treble the amount of damages
   5 they sustained, pursuant to California Code of Civil Procedure § 340.1(b)(1) in an
   6 amount to be proven at trial, attorneys’ fees and other relief that the Court may deem
   7 proper.
   8                                 PRAYER FOR RELIEF
   9 WHEREFORE Plaintiffs respectfully pray for relief as follows:
  10        (a)    Compensatory and special damages in an amount to be proven at
  11               trial;
  12        (b)    Statutory penalties and liquidated damages according to proof at
  13               time of trial;
  14        (c)    Punitive and exemplary damages in an amount according to
  15               proof at the time of trial;
  16        (d)    Treble damages;
  17        (e)    Pre- and post- judgment interest;
  18        (f)    Reasonable attorney’s fees and costs; and
  19        (g)    Such other and further relief as the Court deems just and proper.
  20
  21        Plaintiffs respectfully demand a trial by jury on all claims so triable.
  22                                             SAMINI BARIC KATZ LLP
  23 Date: December 30, 2022            By:      /s/ Bobby Samini
  24
  25                                             Bobby Samini, Esq.
  26                                             Michael Katz , Esq.
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  30
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